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                                                                          6                        IN THE UNITED STATES DISTRICT COURT
                                                                          7                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          8
                                                                                                                      )   Case No. C 07-5944 SC
                                                                          9   In re: CATHODE RAY TUBE (CRT)           )
                                                                              ANTITRUST LITIGATION                    )   MDL No. 1917
                                                                         10                                           )
                               For the Northern District of California
United States District Court




                                                                              This Document Relates to:               )   ORDER GRANTING IN PART AND
                                                                         11                                           )   DENYING IN PART TECHNOLOGIES
                                                                              Sharp Elecs. Corp. v. Hitachi,          )   DISPLAYS AMERICAS, LLC'S MOTION
                                                                         12   Ltd., No. 13-cv-01173                   )   TO DISMISS SHARP'S FIRST
                                                                                                                      )   AMENDED COMPLAINT
                                                                         13                                           )
                                                                                                                      )
                                                                         14                                           )
                                                                         15
                                                                         16
                                                                         17   I.      INTRODUCTION
                                                                         18           Now before the Court is Defendant Technologies Displays
                                                                         19   Americas, LLC's ("TDA" or "Defendant") motion to dismiss Sharp's 1
                                                                         20   first amended complaint.         ECF Nos. 2234 ("MTD"), 2030 ("FAC")
                                                                         21   (filed under seal).        The matter is fully briefed, ECF Nos. 2280
                                                                         22   ("Opp'n"), 2318 ("Reply"), and appropriate for decision without
                                                                         23   oral argument, per Civil Local Rule 7-1(b).            As explained below,
                                                                         24   the Court GRANTS in part and DENIES in part the motion.
                                                                         25
                                                                         26
                                                                              1
                                                                         27     "Sharp" collectively includes Sharp Electronics Corporation
                                                                              ("SEC") and Sharp Electronics Manufacturing Company of America,
                                                                         28   Inc. ("SEMA").
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                                                                          1 II.    BACKGROUND
                                                                          2        The parties are familiar with this case's facts.           Accordingly,
                                                                          3   the Court will only summarize some of the facts that are relevant
                                                                          4   to the instant motion
                                                                          5        The underlying antitrust conspiracy in this MDL -- to fix
                                                                          6   prices of cathode ray tubes ("CRTs"), including color picture tubes
                                                                          7   ("CPTs"), and products containing CRTs ("CRT Products") -- is
                                                                          8   alleged to have lasted between March 1, 1995 and December 2007 (the
                                                                          9   "Relevant Period").     The plaintiffs in all of this MDL's cases
                                                                         10   contend that the defendants kept the conspiracy secret, in order to
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                                                                         11   avoid putting the plaintiffs (and anyone else) on notice.           But on
                                                                         12   November 8, 2007, the European Commission ("EC") issued a press
                                                                         13   release stating that its officials had raided several unnamed CRT
                                                                         14   manufacturers.    Shortly thereafter, other countries' law
                                                                         15   enforcement agencies conducted similar raids, and within a few
                                                                         16   weeks, Defendants Panasonic, Samsung SDI, and Philips all
                                                                         17   acknowledged that they were under investigation.
                                                                         18        Sharp filed an individual complaint on March 15, 2013, opting
                                                                         19   out of the putative DPP class.       Sharp's complaint asserts claims
                                                                         20   under Section 1 of the Sherman Act, 15 U.S.C. et seq.; the
                                                                         21   California Cartwright Act, Cal. Bus. & Prof. Code § 16700 et seq.;
                                                                         22   the California UCL, Cal. Bus. & Prof. Code § 17200 et seq.; New
                                                                         23   York's Donnelly Act, N.Y. Gen. Bus. L. § 340 et seq.; the New York
                                                                         24   UCL, N.Y. Gen. Bus. L. § 349 et seq.; the New Jersey Antitrust Act,
                                                                         25   N.J. Stat. § 56:9-1 et seq.; and the Tennessee Antitrust Act, Tenn.
                                                                         26   Code Ann. § 47-25-101 et seq.
                                                                         27        Sharp's complaint alleges the following facts about TDA
                                                                         28   specifically, and the Court takes them as true at this time.



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                                                                          1   Before 2005, TDA was known as "Thomson Displays America" and was a
                                                                          2   subsidiary of Defendant Thomson Consumer Electronics, Inc.
                                                                          3   ("Thomson Consumer").     FAC ¶ 72.    In 2005, Videocon Industries,
                                                                          4   Inc. ("Videocon") acquired the CRT business of Defendants Thomson
                                                                          5   Consumer and Thomson SA (collectively "Thomson"), though Thomson SA
                                                                          6   allegedly maintained at least a 10 percent ownership stake in
                                                                          7   Videocon during the conspiracy period.          Id. 197.   Thomson is
                                                                          8   alleged to have been involved in the conspiracy between 1999 and
                                                                          9   Videocon's acquisition of the Thomson CRT business in 2005.             Id. ¶
                                                                         10   199.   Between 2005 and 2007, Videocon participated in several
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                                                                         11   conspiracy-related meetings, continuing Thomson's practice, though
                                                                         12   Sharp alleges that Thomson remained involved in the conspiracy
                                                                         13   through Videocon and TDA.      Id. ¶¶ 198.
                                                                         14          TDA was responsible for Videocon's sales and marketing of CRT
                                                                         15   Products in North America, and Sharp alleges on information and
                                                                         16   belief that Videocon dominated or controlled TDA's policies and
                                                                         17   affairs, and directed TDA's pricing of CRT Products.          Id. ¶ 199.
                                                                         18   Sealed facts indicate that at least two former Thomson employees
                                                                         19   who had previously attended conspiracy meetings then began working
                                                                         20   for TDA, while Videocon continued to participate in conspiratorial
                                                                         21   information sharing and meetings.         Id.   Under Videocon's direction,
                                                                         22   TDA and its Mexican subsidiary and co-conspirator Technologies
                                                                         23   Displays Mexicana distributed CRTs to direct purchasers, ensuring
                                                                         24   that the prices for those products did not undercut the pricing
                                                                         25   agreements reached at the conspiratorial meetings.          Id. ¶ 200.
                                                                         26          All of Sharp's claims are subject to four-year statutes of
                                                                         27   limitations, except the New York UCL and the Tennessee Antitrust
                                                                         28   Act, which have three-year statutes of limitations.          TDA now moves



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                                                                          1   to dismiss Sharp's FAC.
                                                                          2
                                                                          3 III.   LEGAL STANDARD
                                                                          4        A motion to dismiss under Federal Rule of Civil Procedure
                                                                          5   12(b)(6) "tests the legal sufficiency of a claim."          Navarro v.
                                                                          6   Block, 250 F.3d 729, 732 (9th Cir. 2001).         "Dismissal can be based
                                                                          7   on the lack of a cognizable legal theory or the absence of
                                                                          8   sufficient facts alleged under a cognizable legal theory."
                                                                          9   Balistreri v. Pacifica Police Dep't, 901 F.2d 696, 699 (9th Cir.
                                                                         10   1988).   "When there are well-pleaded factual allegations, a court
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                                                                         11   should assume their veracity and then determine whether they
                                                                         12   plausibly give rise to an entitlement to relief."          Ashcroft v.
                                                                         13   Iqbal, 556 U.S. 662, 664 (2009).       However, "the tenet that a court
                                                                         14   must accept as true all of the allegations contained in a complaint
                                                                         15   is inapplicable to legal conclusions.        Threadbare recitals of the
                                                                         16   elements of a cause of action, supported by mere conclusory
                                                                         17   statements, do not suffice."      Id. at 678 (citing Bell Atl. Corp. v.
                                                                         18   Twombly, 550 U.S. 544, 555 (2007)).       The allegations made in a
                                                                         19   complaint must be both "sufficiently detailed to give fair notice
                                                                         20   to the opposing party of the nature of the claim so that the party
                                                                         21   may effectively defend against it" and "sufficiently plausible"
                                                                         22   such that "it is not unfair to require the opposing party to be
                                                                         23   subjected to the expense of discovery."        Starr v. Baca, 652 F.3d
                                                                         24   1202, 1216 (9th Cir. 2011).
                                                                         25        Claims sounding in fraud are subject to the heightened
                                                                         26   pleading requirements of Federal Rule of Civil Procedure 9(b),
                                                                         27   which requires that a plaintiff alleging fraud "must state with
                                                                         28   particularity the circumstances constituting fraud."          See Kearns v.



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                                                                          1   Ford Motor Co., 567 F.3d 1120, 1124 (9th Cir. 2009).          "To satisfy
                                                                          2   Rule 9(b), a pleading must identify the who, what, when, where, and
                                                                          3   how of the misconduct charged, as well as what is false or
                                                                          4   misleading about [the purportedly fraudulent] statement, and why it
                                                                          5   is false."    United States ex rel Cafasso v. Gen. Dynamics C4 Sys.,
                                                                          6   Inc., 637 F.3d 1047, 1055 (9th Cir. 2011) (internal quotation marks
                                                                          7   and citations omitted).
                                                                          8
                                                                          9 IV.    DISCUSSION
                                                                         10        A.      Whether Sharp Adequately Pled a Claim Against TDA
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                                                                         11        TDA argues that Sharp's complaint is purely speculative and
                                                                         12   insufficient to meet Rule 8's plausibility standard.          MTD at 3.
                                                                         13   According to TDA, Sharp fails to plead enough detail about TDA's
                                                                         14   alleged involvement in the conspiracy, despite having the benefit
                                                                         15   of the Court's prior order on Sharp's pleading in a different case.
                                                                         16   Id. (citing ECF No. 1960 ("Order Granting Thomson MTD")).           TDA
                                                                         17   contends that Sharp never alleges what TDA agreed to do, or did, in
                                                                         18   furtherance of the alleged conspiracy, such as attending specific
                                                                         19   meetings.    Further, TDA states that alleging a parent-subsidiary
                                                                         20   relationship, without more, is not enough to make TDA liable for
                                                                         21   the torts of any of its affiliates -- mere corporate status is
                                                                         22   insufficient.    Finally, TDA argues that its sale of CRTs does not
                                                                         23   automatically make it a co-conspirator, nor does it show that TDA
                                                                         24   was at any of the alleged conspiratorial meetings.          All of these,
                                                                         25   TDA claims, render Sharp's allegations implausible.
                                                                         26        Rule 8 demands "more than an unadorned, the-defendant-
                                                                         27   unlawfully-harmed-me accusation."         Iqbal, 556 U.S. at 678.    But the
                                                                         28   Court finds that Sharp has alleged enough specifics as to TDA to



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                                                                          1   warrant its pleadings surviving a motion to dismiss, particularly
                                                                          2   given the Court's frequent statements that plaintiffs in complex,
                                                                          3   multinational antitrust cases do not have to plead detailed,
                                                                          4   defendant-by-defendant allegations -- they only have to make
                                                                          5   allegations plausibly suggesting that each defendant participated
                                                                          6   in the conspiracy.     See In re Cathode Ray Tube (CRT) Antitrust
                                                                          7   Litig., 738 F. Supp. 2d 1011, 1019 (N.D. Cal. 2010); In re TFT-LCD
                                                                          8   (Flat Panel) Antitrust Litig., 599 F. Supp. 2d 1179, 1184-85 (N.D.
                                                                          9   Cal. 2009).   The Court has dismissed claims against certain
                                                                         10   defendants in this action because plaintiffs had essentially copied
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                                                                         11   other pleadings and, in responsive briefs to motions to dismiss,
                                                                         12   defended their allegations' paucity of facts by comparing their
                                                                         13   complaints to the much-older pleadings the Court had held
                                                                         14   sufficient to survive a Rule 12(b)(6) motion, instead of referring
                                                                         15   to their own pleadings.     See Sept. 26 Order at 5.
                                                                         16        That reasoning still stands, but the Court does not find that
                                                                         17   Sharp has slipped below the pleading requirements set by Rule 8.
                                                                         18   Sharp's complaint does not set out elaborate fact pleading that
                                                                         19   explains every step Sharp contends TDA to have taken, but it does
                                                                         20   not have to go that far.      In complex antitrust litigation, motive
                                                                         21   and intent play leading roles, and the proof is largely in the
                                                                         22   alleged conspirators' hands.      Poller v. Columbia Broad. Sys., Inc.,
                                                                         23   368 U.S. 464, 473 (1962).      Accordingly, pleadings must be
                                                                         24   plausible, but they do not have to be in the form of precisely
                                                                         25   detailed, defendant-by-defendant allegations.         In re CRT, 738 F.
                                                                         26   Supp. 2d at 1017.
                                                                         27        Sharp has pled that this particular conspiracy is structured
                                                                         28   in such a way that its allegations about TDA's business and



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                                                                          1   behavior make sense in terms of adequately stating TDA's
                                                                          2   involvement and putting it on notice of Sharp's claims against it.
                                                                          3   Sharp does not plead dates on which TDA is alleged to have attended
                                                                          4   conspiratorial meetings, but Sharp does plead that Videocon, which
                                                                          5   allegedly did attend those meetings, dominated and controlled TDA,
                                                                          6   and that executives who attended price-fixing meetings worked for
                                                                          7   Videocon and TDA.    These pleadings are sufficient.        And while Sharp
                                                                          8   has apparently obtained written discovery responses from TDA, no
                                                                          9   depositions have been taken and only a "small number of documents"
                                                                         10   have been provided.     See Opp'n at 11 n.4.      TDA is very new to this
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                                                                         11   litigation and has not been involved in any capacity, unlike, for
                                                                         12   example, the Thomson Defendants.       This puts Sharp's pleadings in a
                                                                         13   different posture, though the pleadings that are on the record rise
                                                                         14   above being mere labels and conclusions.
                                                                         15        B.    Statutes of Limitation
                                                                         16        The doctrine of fraudulent concealment focuses on actions that
                                                                         17   a defendant took to prevent a plaintiff from learning of grounds
                                                                         18   for filing a suit.     See Lukovsky v. City & Cnty. of S.F., 535 F.3d
                                                                         19   1044, 1051 (9th Cir. 2008).      To invoke the doctrine, plaintiffs
                                                                         20   must allege facts demonstrating that they could not have discovered
                                                                         21   the alleged violations by exercising reasonable diligence.
                                                                         22   Rosenfeld v. JPMorgan Chase Bank N.A., 732 F. Supp. 2d 952, 964
                                                                         23   (N.D. Cal. 2010); see also Hubbard v. Fid. Fed. Bank, 91 F.3d 75,
                                                                         24   79 (9th Cir. 1996).     A fraudulent concealment claim must be alleged
                                                                         25   with particularity under Rule 9(b).       Noll v. eBay, Inc., 282 F.R.D.
                                                                         26   462, 468 (N.D. Cal. 2012).
                                                                         27        TDA notes that one of Sharp's earlier briefs concedes that
                                                                         28   Sharp can only assert fraudulent concealment through November 2007.



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                                                                          1   MTD at 8 n.4 (citing ECF No. 2194).       However, TDA contends that
                                                                          2   even if Sharp could plead concealment, the ground for tolling would
                                                                          3   be inapplicable because Sharp's complaint was filed outside the
                                                                          4   limitations periods even if its claims were tolled through November
                                                                          5   2007.    Id.   Sharp views this statement as TDA's conceding that
                                                                          6   Sharp's allegations show fraudulent concealment through November
                                                                          7   2007, Opp'n at 15, though TDA maintains that Sharp's complaint
                                                                          8   simply lacks any facts supporting fraudulent concealment on TDA's
                                                                          9   part, Reply at 5.
                                                                         10           The Court finds that Sharp's complaint has sufficiently pled
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                                                                         11   fraudulent concealment until November 14, 2007, the latest date
                                                                         12   this Court has held to provide actual or inquiry notice to the
                                                                         13   DAPs.    See In re Cathode Ray Tube (CRT) Antitrust Litig., No. C-07-
                                                                         14   5944, 2013 WL 4505701, at *3 (N.D. Cal. Aug. 21, 2013); see also In
                                                                         15   re Rubber Chems. Antitrust Litig., 504 F. Supp. 2d 777, 789 (N.D.
                                                                         16   Cal. 2007) ("[I]t is generally inappropriate to resolve the fact-
                                                                         17   intensive allegations of fraudulent concealment at the motion to
                                                                         18   dismiss stage, particularly where the proof relating to the extent
                                                                         19   of the fraudulent concealment is alleged to be largely in the hands
                                                                         20   of the alleged conspirators.").       This renders their claims time-
                                                                         21   barred unless they are able to invoke a tolling doctrine or some
                                                                         22   equivalent that would cover the time period from November 14, 2007
                                                                         23   to the filing of the present complaint.
                                                                         24           To overcome this deficiency, Sharp asserts (1) tolling based
                                                                         25   on American Pipe and similar class-action tolling doctrines, and
                                                                         26   (2) the pendency of criminal proceedings and investigations against
                                                                         27   several Defendants and co-conspirators.
                                                                         28   ///



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                                                                          1             i.     American Pipe Tolling
                                                                          2        American Pipe held that commencement of a class action
                                                                          3   suspends the statute of limitation as to all putative members of
                                                                          4   the class up to and until class certification is denied or the
                                                                          5   plaintiff opts out of the class.       414 U.S. at 554; Williams v.
                                                                          6   Boeing Co., 517 F.3d 1120, 1136 (9th Cir. 2008); Emp'rs-Teamsters
                                                                          7   Local Nos. 175 & 505 Pension Trust Fund v. Anchor Capital Advisors,
                                                                          8   498 F.3d 920, 925 (9th Cir. 2007).        "Tolling is fair in such a case
                                                                          9   because when the complaint is filed defendants have notice of the
                                                                         10   'substantive claims being brought against them.'"          Williams, 517
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                                                                         11   F.3d at 1136 (quoting Crown, Cork & Seal Co. v. Parker, 462 U.S.
                                                                         12   345, 352-53 (1983)).
                                                                         13        TDA was not a defendant in any of the previously filed cases.
                                                                         14   This alone is enough for the Court to hold American Pipe tolling
                                                                         15   inapplicable in this case.      See Biotech. Value Fund, L.P. v. Celera
                                                                         16   Corp., -- F. Supp. 2d --, 2013 WL 6731900, at *8 (N.D. Cal. Dec.
                                                                         17   20, 2013) (not applying American Pipe to a defendant not named in
                                                                         18   any putative class action); Tech Data Corp. v. AU Optronics Corp.,
                                                                         19   No. 07-MD-1827, 2012 WL 3236065, at *5 (N.D. Cal. Aug. 6, 2012)
                                                                         20   (same).   Sharp argues that the Court should apply American Pipe
                                                                         21   tolling anyway, because there is "at least a fact question as to
                                                                         22   whether TDA was on notice of the claims sufficient to trigger
                                                                         23   American Pipe tolling."     Opp'n at 21.     Sharp cites no binding law
                                                                         24   to support its point.     The Court does not find Sharp's arguments
                                                                         25   convincing.    There is no authority behind the contention that the
                                                                         26   Court could or should apply American Pipe to toll claims against a
                                                                         27
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                                                                          1   party not named as a defendant in any case that could toll an
                                                                          2   action. 2
                                                                          3              ii.      Governmental Action
                                                                          4                       a.    New York
                                                                          5           Sharp argues that the federal government's actions on the CRT
                                                                          6   conspiracy toll the statute of limitations for its Donnelly Act
                                                                          7   claims, beginning with the DOJ's criminal actions against CRT
                                                                          8   conspirators in February 2009.          Sharp Opp'n at 11-12.      They base
                                                                          9   this argument not on federal antitrust tolling provisions, but on
                                                                         10   the Donnelly Act's own tolling provision, which tolls Donnelly Act
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                                                                         11   limitations periods pending federal antitrust proceedings:
                                                                         12           Whenever any civil or criminal proceeding is instituted
                                                                                      by the federal government to prevent, restrain, or
                                                                         13           punish violations of the federal antitrust laws, the
                                                                                      running of the period of limitations in respect of every
                                                                         14           right of action arising under sections three hundred
                                                                                      forty, three hundred forty-two and three hundred forty-
                                                                         15           two-a of this article, based in whole or in part on any
                                                                                      matter complained of in the federal proceeding, shall be
                                                                         16           suspended during the pendency of said proceeding and for
                                                                                      one year thereafter . . . .
                                                                         17
                                                                         18   N.Y. Gen. Bus. Law § 342-c.          Sharp further notes that, elsewhere in
                                                                         19   this litigation, Defendants have conceded that Donnelly Act claims
                                                                         20   are tolled due to pending federal investigations.             Opp'n at 12
                                                                         21   (citing ECF No. 1422 ("Defs. Joint Reply ISO MTD DAP Claims")).
                                                                         22           Defendants contend that their earlier motion was directed
                                                                         23   toward other DAPs, whose complaints were filed in November 2011.
                                                                         24   Reply at 15.       They also argue that the New York tolling provision
                                                                         25   does not save Sharp's claim.          Id. at 14-15.    According to
                                                                         26   Defendants, tolling under that statute commences only as of the
                                                                         27   2
                                                                                Even if American Pipe applied, as explained in the concurrently
                                                                         28   filed Order on Defendants' Joint Motion to Dismiss, it would not
                                                                              toll any of Sharp's state law claims.


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                                                                          1   date an indictment was filed, and lasts through the pendency of
                                                                          2   prosecution.    Id. at 15 (citing Hinds Cnty., Miss. v. Wachovia Bank
                                                                          3   N.A., 885 F. Supp. 2d 617, 628 (S.D.N.Y. 2012) (applying tolling
                                                                          4   under the federal provision, not Section 342-c); Dungan v. Morgan
                                                                          5   Drive-Away, Inc., 570 F.2d 867, 871 (9th Cir. 1978) (same)).
                                                                          6   Defendants claim that because Sharp has alleged nothing as to the
                                                                          7   duration of any criminal proceedings, except fifty-five days
                                                                          8   between March 18, 2011 and May 12, 2011 when two defendants entered
                                                                          9   plea agreements, there is no way for Sharp to account for the
                                                                         10   period between November 2007 and March 2013.         Id.
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                                                                         11        The Court is not convinced by Defendants' argument.            The Court
                                                                         12   finds that § 16(i) tolling applies based on the open indictments in
                                                                         13   this case.     For 15 U.S.C. § 16(i) to apply, a plaintiff must show
                                                                         14   by a "comparison of the two complaints on their face[s]" that there
                                                                         15   is a significant overlap between the two actions, such "that the
                                                                         16   matters complained of in the government suit bear a real relation
                                                                         17   to the private plaintiff's claim for relief."         Leh v. Gen. Petro.
                                                                         18   Grp., 382 U.S. 54, 59 (1965).      The Court finds accordingly here:
                                                                         19   the conspiracy is the same, many of the actors are the same, and
                                                                         20   the cases will share many facts.      They overlap significantly, and
                                                                         21   the government's cases bear real relations to Sharp's case.            Id.
                                                                         22        First, one criminal matter, pending between March 18, 2011
                                                                         23   until its closure in August 30, 2012, tolls claims under § 16(i)
                                                                         24   for that time period plus a year.         Further, based on J.M. Dungan v.
                                                                         25   Morgan Drive-Away, Inc., 570 F.2d 867 (9th Cir. 1978), tolling
                                                                         26   under § 16(i) begins at least at the indictment stage, though the
                                                                         27   Court notes that Dungan had the benefit of at least one completed
                                                                         28   criminal case.    However, the Ninth Circuit's holding was in fact



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                                                                          1   based on the theory that the return of a grand jury indictment fits
                                                                          2   the statutory language of § 16(i) more comfortably than empanelling
                                                                          3   alone would, since the purpose of an indictment is the prevention,
                                                                          4   restraint, or punishment of antitrust violations.         In this case,
                                                                          5   the open indictments Sharp references remain pending, and the Court
                                                                          6   finds Dungan instructive here: tolling under § 16(i) may begin at
                                                                          7   least with the return of an indictment, and absent facts or law
                                                                          8   indicating that the Court cannot apply tolling because not much has
                                                                          9   happened in those cases, the Court finds that under current
                                                                         10   precedent tolling will apply from February 10, 2009 to the present
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                                                                         11   as to Sharp's Donnelly Act claims.
                                                                         12
                                                                         13   V.   CONCLUSION
                                                                         14        As explained above, Sharp's state law claims are DISMISSED
                                                                         15   WITH PREJUDICE, with the exception of Sharp's Donnelly Act claims.
                                                                         16   All federal claims are undisturbed.
                                                                         17
                                                                         18        IT IS SO ORDERED.
                                                                         19
                                                                         20        Dated: March 13, 2014
                                                                         21                                             UNITED STATES DISTRICT JUDGE
                                                                         22
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